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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

GLEN ELLYN PHARMACY, INC.,          )
                                    )
           Plaintiff,               )
                                    )
           v.                       )
                                    )
EMPIRE PHARMACY CONSULTANTS, L.L.C. )
and JOHN DOES 1-10,                 )
                                    )
           Defendant.               )

                              COMPLAINT – CLASS ACTION

                         MATTERS COMMON TO MULTIPLE COUNTS

                                       INTRODUCTION

       1.      Plaintiff Glen Ellyn Pharmacy, Inc., brings this action to secure redress

for the actions of defendant Empire Pharmacy Consultants, L.L.C, in sending or causing the

sending of unsolicited advertisements to telephone facsimile machines in violation of the

Telephone Consumer Protection Act, 47 U.S.C. §227 (“TCPA”), the Illinois Consumer Fraud

Act, 815 ILCS 505/2 (“ICFA”), and the common law.

       2.      The TCPA expressly prohibits unsolicited fax advertising. Unsolicited fax

advertising damages the recipients. The recipient is deprived of its paper and ink or toner and the

use of its fax machine. The recipient also wastes valuable time it would have spent on something

else. Unsolicited faxes prevent fax machines from receiving and sending authorized faxes, cause

wear and tear on fax machines, and require labor to attempt to identify the source and purpose of

the unsolicited faxes.



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                                            PARTIES

       3.      Plaintiff Glen Ellyn Pharmacy, Inc., is an Illinois Corporation with offices in Glen

Ellyn, Illinois, where it Maintains telephone facsimile equipment.

       4.      Defendant Empire Pharmacy Consultants, L.L.C. is a limited liability company

organized under Florida law with principal offices at 8323 NW 12 th Street, Suite 108, Doral.

Florida 33126. Its registered agent and address is Adam Rabinowitz located at 1 Financial Plaza,

Suite 2700, Ft Lauderdale, Florida 33394

       5.      John Does 1-10 are other natural or artificial persons that were involved in the

sending of the facsimile advertisements described below. Plaintiff does not know who they are.

                                JURISDICTION AND VENUE

       6.      This Court has jurisdiction under 28 U.S.C. §§1331 and 1367.      Mims v. Arrow

Financial Services, LLC, 132 S. Ct. 740, 751-53 (2012); Brill v. Countrywide Home Loans, Inc.,

427 F.3d 446 (7th Cir. 2005).

       7.      Personal jurisdiction exists under 735 ILCS 5/2-209, in that defendants:

               a.     Have committed tortious acts in Illinois by causing the transmission of

                      unlawful communications into the state.

               b.     Have transacted business in Illinois.

       8.      Venue in this District is proper for the same reason.

                                             FACTS

       9.      On September 17, 2015, Glen Ellyn Pharmacy, Inc received an unsolicited fax

advertisement, attached as Exhibit A, on its facsimile machine.

       10.    On November 16, 2015, Glen Ellyn Pharmacy, Inc received an unsolicited fax


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advertisement, attached as Exhibit B, on its facsimile machine.

       11.     On December 14, 2015, Glen Ellyn Pharmacy, Inc received an unsolicited fax

advertisement, attached as Exhibit C, on its facsimile machine.

       12.     On January 14, 2016, Glen Ellyn Pharmacy, Inc received an unsolicited fax

advertisement, attached as Exhibit D, on its facsimile machine.

       13.     On March 14, 2016, Glen Ellyn Pharmacy, Inc received an unsolicited fax

advertisement, attached as Exhibit E, on its facsimile machine.

       14.     Discovery may reveal the transmission of additional faxes as well.

       15.     Defendant Empire Pharmacy Consultants, LLC as the entity who products or

services were advertised in the fax, derived economic benefit from the sending of the fax.

       16.      Defendant Empire Pharmacy Consultants, LLC is responsible for sending or

causing the sending of the fax.

       17.      Defendant Empire Pharmacy Consultants, LLC as the entity who products or

services were advertised in the fax, derived economic benefit from the sending of the fax.

       18.       Defendant Empire Pharmacy Consultants, LLC either negligently or wilfully

violated the rights of plaintiff and other recipients in sending the faxes.

       19.       Plaintiff had no prior relationship with defendant and had not authorized the

sending of fax advertisements to plaintiff.

       20.     The fax does not contain an “opt out” notice that complies with 47 U.S.C. §227.

       21.     On information and belief, the fax attached hereto was sent as part of a mass

broadcasting of faxes. It is a generic fax, not specifically addressed to any person.

       22.     The TCPA provides for affirmative defenses of consent or an established business


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relationship. Both defenses are conditioned on the provision of an opt out notice that complies

with the TCPA. Holtzman v. Turza, 728 F.3d 682 (7th Cir. 2013); Nack v. Walburg, 715 F.3d 680

(8th Cir. 2013).

        23.        On information and belief, defendant has transmitted similar unsolicited fax

advertisements to at least 40 other persons in Illinois.

        24.        There is no reasonable means for plaintiff or other recipients of defendant’s

unsolicited advertising faxes to avoid receiving illegal faxes. Fax machines must be left on and

ready to receive the urgent communications authorized by their owners.

                                           COUNT I – TCPA

        23.        Plaintiff incorporates ¶¶ 1-22.

        24.        The TCPA makes unlawful the “use of any telephone facsimile machine,

computer or other device to send an unsolicited advertisement to a telephone facsimile machine

...” 47 U.S.C. §227(b)(1)(C).

        25.        The TCPA, 47 U.S.C. §227(b)(3), provides:

                   Private right of action.

                   A person or entity may, if otherwise permitted by the laws or rules of court
                   of a State, bring in an appropriate court of that State–

                          (A) an action based on a violation of this subsection or the regulations
                          prescribed under this subsection to enjoin such violation,

                          (B) an action to recover for actual monetary loss from such a
                          violation, or to receive $500 in damages for each such violation,
                          whichever is greater, or

                          (C) both such actions.

                   If the Court finds that the defendant willfully or knowingly violated this


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                subsection or the regulations prescribed under this subsection, the court
                may, in its discretion, increase the amount of the award to an amount equal
                to not more than 3 times the amount available under the subparagraph (B) of
                this paragraph.

        26.     Plaintiff and each class member suffered damages as a result of receipt of the

unsolicited faxes, in the form of paper and ink or toner consumed as a result. Furthermore,

plaintiff’s statutory right of privacy was invaded.

        27.     Plaintiff and each class member is entitled to statutory damages.

        28.     Defendant violated the TCPA even if its actions were only negligent.

        29.     Defendant should be enjoined from committing similar violations in the future.

                                      CLASS ALLEGATIONS

        30.     Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on behalf of

a class, consisting of (a) all persons (b) who, on or after a date four years prior to the filing of this

action (28 U.S.C. §1658), (c) were sent faxes by or on behalf of defendant Empire Pharmacy

Consultants, L.L.C promoting its goods or services for sale (d) which did not contain a compliant

opt out notice. By “compliant opt out notice” is meant one (i) on the first page of the fax (ii) that

states that the recipient may make a request to the sender not to send any future unsolicited

advertisements to a telephone facsimile machine (iii) that states that failure to comply, within the

shortest reasonable time, as determined by the Federal Communications Commission, is

unlawful; (iv) that provides instructions on how to submit an opt out request and (v) that

includes a domestic contact telephone and facsimile machine number and a cost-free mechanism

for the recipient to transmit such a request to the sender that permit a request to be made at any

time on any day of the week.



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       31.     The class is so numerous that joinder of all members is impractical. Plaintiff

alleges on information and belief that there are more than 40 members of the class.

       32.     There are questions of law and fact common to the class that predominate over

any questions affecting only individual class members. The predominant common questions

include:

               a.      Whether defendant engaged in a pattern of sending unsolicited fax

                       advertisements;

               b.      The manner in which defendant compiled or obtained its list of fax

                       numbers;

               c.      Whether defendant thereby violated the TCPA.

       33.     Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has

retained counsel experienced in handling class actions and claims involving unlawful business

practices. Neither plaintiff nor plaintiff's counsel have any interests which might cause them not

to vigorously pursue this action.

       34.     Plaintiff’s claims are typical of the claims of the class members. All are based on

the same factual and legal theories.

       35.     A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of class members in individually controlling the prosecution of

separate claims against defendants is small because it is not economically feasible to bring

individual actions.

       36.     Numerous courts have certified class actions under the TCPA. Holtzman v.

Turza, No. 08 C 2014, 2009 WL 3334909 (N.D.Ill. Oct. 14, 2009), aff’d in part, rev’d in part,


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vacated in part, 728 F.3d 682 (7th Cir. 2013); Ballard RN Center, Inc. v. Kohll's Pharmacy and

Homecare, Inc. 2015 IL 118644, 48 N.E.3d 1060; American Copper & Brass, Inc. v. Lake City

Indus. Products, Inc., 757 F.3d 540, 544 (6th Cir. 2014); In re Sandusky Wellness Center, LLC,

570 Fed.Appx. 437, 437 (6th Cir. 2014); Sandusky Wellness Center, LLC v. Medtox Scientific,

Inc., 821 F.3d 992, 998 (8th Cir. 2016); Sadowski v. Med1 Online, LLC, No. 07 C 2973, 2008

WL 2224892 (N.D.Ill. May 27, 2008); CE Design Ltd. v. Cy’s Crabhouse North, Inc., 259 F.R.D.

135 (N.D.Ill. 2009); Targin Sign Systems, Inc. v. Preferred Chiropractic Center, Ltd., 679

F.Supp.2d 894 (N.D.Ill. 2010); Garrett v. Ragle Dental Laboratory, Inc., No. 10 C 1315, 2010

WL 4074379 (N.D.Ill. Oct. 12, 2010); Hinman v. M&M Rental Center, Inc., 545 F.Supp.2d 802

(N.D.Ill. 2008); Clearbrook v. Rooflifters, LLC, No. 08 C 3276, 2010 U.S.Dist. LEXIS 72902

(N.D.Ill. July 20, 2010) (Cox, M.J.); G.M. Sign, Inc. v. Group C Communications, Inc., No. 08-

cv-4521, 2010 WL 744262 (N.D.Ill. Feb. 25, 2010); Kavu, Inc. v. Omnipak Corp., 246 F.R.D.

642 (W.D.Wash. 2007); Display South, Inc. v. Express Computer Supply, Inc., 961 So.2d 451,

455 (La.App. 2007); Display South, Inc. v. Graphics House Sports Promotions, Inc., 992 So.2d

510 (La.App. 2008); Lampkin v. GGH, Inc., 146 P.3d 847 (Ok.App. 2006); ESI Ergonomic

Solutions, LLC v. United Artists Theatre Circuit, Inc., 203 Ariz. 94, 50 P.3d 844 (2002); Core

Funding Group, LLC v. Young, 792 N.E.2d 547 (Ind.App. 2003); Critchfield Physical Therapy v.

Taranto Group, Inc., 293 Kan. 285, 263 P.3d 767 (2011); Karen S. Little, L.L.C. v. Drury Inns,

Inc., 306 S.W.3d 577 (Mo.App. 2010); Lindsay Transmission, LLC v. Office Depot, Inc., No.

4:12-CV-221 (CEJ), 2013 WL 275568 (E.D.Mo. Feb. 24, 2013).

       37.     Management of this class action is likely to present significantly fewer difficulties

that those presented in many class actions, e.g. for securities fraud.


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                WHEREFORE, plaintiff requests that the Court enter judgment in favor of

plaintiff and the class and against defendant for:

                a.      Actual damages;

                b.      Statutory damages;

                c.      An injunction against the further transmission of unsolicited fax

                        advertising;

                d.      Costs of suit;

                e.      Such other or further relief as the Court deems just and proper.

                      COUNT II – ILLINOIS CONSUMER FRAUD ACT

        38.     Plaintiff incorporates ¶¶ 1-22.

        39.     Defendant engaged in unfair acts and practices, in violation of ICFA § 2, 815

ILCS 505/2, by sending unsolicited fax advertising to plaintiff and others.

        40.     Unsolicited fax advertising is contrary to the TCPA and also Illinois law. 720

ILCS 5/26-3(b) makes it a petty offense to transmit unsolicited fax advertisements to Illinois

residents.

        41.     Defendant engaged in an unfair practice and an unfair method of competition by

engaging in conduct that is contrary to public policy, unscrupulous, and caused injury to

recipients of their advertising.

        42.     Plaintiff and each class member suffered damages as a result of receipt of the

unsolicited faxes, in the form of paper and ink or toner consumed as a result.

        43.     Defendant engaged in such conduct in the course of trade and commerce.

        44.     Defendant’s conduct caused recipients of their advertising to bear the cost thereof.


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This gave defendant an unfair competitive advantage over businesses that advertise lawfully,

such as by direct mail. For example, an advertising campaign targeting one million recipients

would cost $500,000 if sent by U.S. mail but only $20,000 if done by fax broadcasting. The

reason is that instead of spending $480,000 on printing and mailing his ad, the fax broadcaster

misappropriates the recipients’ paper and ink. “Receiving a junk fax is like getting junk mail

with the postage due”. Remarks of Cong. Edward Markey, 135 Cong Rec E 2549, Tuesday, July

18, 1989, 101st Cong. 1st Sess.

        45.     Defendant’s shifting of advertising costs to plaintiff and the class members in this

manner makes such practice unfair. In addition, defendant’s conduct was contrary to public

policy, as established by the TCPA and Illinois statutory and common law.

        46.     Defendant should be enjoined from committing similar violations in the future.

                                     CLASS ALLEGATIONS

        47.     Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on behalf of

a class, consisting of (a) all persons with Illinois fax numbers (b) who, on or after a date three

years prior to the filing of this action, (c) were sent faxes by or on behalf of defendant Empire

Pharmacy Consultants, LLC promoting its goods or services for sale (d) which did not contain an

“opt out” notice that complies with 47 U.S.C. §277. By “compliant opt out notice” is meant one

(i) on the first page of the fax (ii) that states that the recipient may make a request to the sender

not to send any future unsolicited advertisements to a telephone facsimile machine (iii) that states

that failure to comply, within the shortest reasonable time, as determined by the Federal

Communications Commission, is unlawful; (iv) that provides instructions on how to submit an

opt out request and (v) that includes a domestic contact telephone and facsimile machine


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number and a cost-free mechanism for the recipient to transmit such a request to the sender that

permit a request to be made at any time on any day of the week.

       48.     The class is so numerous that joinder of all members is impractical. Plaintiff

alleges on information and belief that there are more than 40 members of the class.

       49.     There are questions of law and fact common to the class that predominate over

any questions affecting only individual class members. The predominant common questions

include:

               a.      Whether defendant engaged in a pattern of sending unsolicited fax

                       advertisements;

               b.      Whether defendant thereby engaged in unfair acts and practices, in

                       violation of the ICFA.

       50.     Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has

retained counsel experienced in handling class actions and claims involving unlawful business

practices. Neither plaintiff nor plaintiff's counsel have any interests which might cause them not

to vigorously pursue this action.

       51.     Plaintiff’s claims are typical of the claims of the class members. All are based on

the same factual and legal theories.

       52.     A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of class members in individually controlling the prosecution of

separate claims against defendant is small because it is not economically feasible to bring

individual actions.

       53.     Management of this class action is likely to present significantly fewer difficulties


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that those presented in many class actions, e.g. for securities fraud.

               WHEREFORE, plaintiff requests that the Court enter judgment in favor of

plaintiff and the class and against defendant for:

               a.      Appropriate damages;

               b.      An injunction against the further transmission of unsolicited fax

                       advertising;

               c.      Attorney’s fees, litigation expenses and costs of suit;

               d.      Such other or further relief as the Court deems just and proper.

                                  COUNT III – CONVERSION

       54.     Plaintiff incorporates ¶¶ 1-22.

       55.     By sending plaintiff and the class members unsolicited faxes, defendant

converted to its own use ink or toner and paper belonging to plaintiff and the class members.

       56.     Immediately prior to the sending of the unsolicited faxes, plaintiff and the class

members owned and had an unqualified and immediate right to the possession of the paper and

ink or toner used to print the faxes.

       57.     By sending the unsolicited faxes, defendants appropriated to their own use the

paper and ink or toner used to print the faxes and used them in such manner as to make them

unusable. Such appropriation was wrongful and without authorization.

       58.     Defendant knew or should have known that such appropriation of the paper and

ink or toner was wrongful and without authorization.

       59.     Plaintiff and the class members were deprived of the paper and ink or toner,

which could no longer be used for any other purpose. Plaintiff and each class member thereby


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suffered damages as a result of receipt of the unsolicited faxes.

        60.     Defendant should be enjoined from committing similar violations in the future.

                                     CLASS ALLEGATIONS

        61.     Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on behalf of

a class, consisting of (a) all persons with Illinois fax numbers (b) who, on or after a date five

years prior to the filing of this action, (c) were sent faxes by or on behalf of defendant Empire

Pharmacy Consultants, L.L.C. promoting its goods or services for sale (d) which did not contain

an “opt out” notice that complies with 47 U.S.C. §227. By “compliant opt out notice” is meant

one (i) on the first page of the fax (ii) that states that the recipient may make a request to the

sender not to send any future unsolicited advertisements to a telephone facsimile machine (iii)

that states that failure to comply, within the shortest reasonable time, as determined by the

Federal Communications Commission, is unlawful; (iv) that provides instructions on how to

submit an opt out request and (v) that includes a domestic contact telephone and facsimile

machine number and a cost-free mechanism for the recipient to transmit such a request to the

sender that permit a request to be made at any time on any day of the week.

        62.     The class is so numerous that joinder of all members is impractical. Plaintiff

alleges on information and belief that there are more than 40 members of the class.

        63.     There are questions of law and fact common to the class that predominate over

any questions affecting only individual class members. The predominant common questions

include:

                a.     Whether defendant engaged in a pattern of sending unsolicited fax

                        advertisements;


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               b.      Whether defendant thereby converted the property of plaintiff.

       64.     Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has

retained counsel experienced in handling class actions and claims involving unlawful business

practices. Neither plaintiff nor plaintiff’s counsel have any interests which might cause them not

to vigorously pursue this action.

       65.     Plaintiff’s claims are typical of the claims of the class members. All are based on

 the same factual and legal theories.

       66.     A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of class members in individually controlling the prosecution of

separate claims against defendant is small because it is not economically feasible to bring

individual actions.

       67.     Management of this class action is likely to present significantly fewer difficulties

that those presented in many class actions, e.g. for securities fraud.

               WHEREFORE, plaintiff requests that the Court enter judgment in favor of

plaintiff and the class and against defendant for:

               a.      Appropriate damages;

               b.      An injunction against the further transmission of unsolicited fax

                       advertising;

               c.      Costs of suit;

               d.      Such other or further relief as the Court deems just and proper.




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                           COUNT IV – TRESPASS TO CHATTELS

       68.     Plaintiff incorporates ¶¶ 1-22.

       69.     Plaintiff and the class members were entitled to possession of the equipment they

used to receive faxes.

       70.     Defendant’s sending plaintiff and the class members unsolicited faxes interfered

with their use of the receiving equipment and constitutes a trespass to such equipment. Chair

King v. Houston Cellular, 95cv1066, 1995 WL 1693093 at *2 (S.D. Tex. Nov. 7, 1995) (denying

a motion to dismiss with respect to plaintiff's trespass to chattels claim for unsolicited faxes),

vacated on jurisdictional grounds 131 F.3d 507 (5th Cir. 1997).

       71.     Defendant acted either intentionally or negligently in engaging in such conduct.

       71.     Plaintiff and each class member suffered damages as a result of receipt of the

unsolicited faxes.

       73.     Defendant should be enjoined from continuing trespasses.



                                     CLASS ALLEGATIONS

       74.     Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on behalf of

a class, consisting of (a) all persons with Illinois fax numbers (b) who, on or after a date five

years prior to the filing of this action, (c) were sent faxes by or on behalf of defendant Empire

Pharmacy Consultants L.L.C. promoting its goods or services for sale (d) which did not contain a

compliant opt out notice. By “compliant opt out notice” is meant one (i) on the first page of the

fax (ii) that states that the recipient may make a request to the sender not to send any future

unsolicited advertisements to a telephone facsimile machine (iii) that states that failure to


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comply, within the shortest reasonable time, as determined by the Federal Communications

Commission, is unlawful; (iv) that provides instructions on how to submit an opt out request and

(v) that includes a domestic contact telephone and facsimile machine number and a cost-free

mechanism for the recipient to transmit such a request to the sender that permit a request to be

made at any time on any day of the week.

       75.     The class is so numerous that joinder of all members is impractical. Plaintiff

alleges on information and belief that there are more than 40 members of the class.

       76.     There are questions of law and fact common to the class that predominate over

any questions affecting only individual class members. The predominant common questions

include:

               a.      Whether defendant engaged in a pattern of sending unsolicited fax

                       advertisements;

               b.      Whether defendant thereby committed a trespass to chattels.

       77.     Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has

retained counsel experienced in handling class actions and claims involving unlawful business

practices. Neither plaintiff nor plaintiff’s counsel have any interests which might cause them not

to vigorously pursue this action.

       78.     Plaintiff’s claims are typical of the claims of the class members. All are based on

 the same factual and legal theories.

       79.     A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of class members in individually controlling the prosecution of

separate claims against defendant is small because it is not economically feasible to bring


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individual actions.

       80.     Management of this class action is likely to present significantly fewer difficulties

that those presented in many class actions, e.g. for securities fraud.

               WHEREFORE, plaintiff requests that the Court enter judgment in favor of

plaintiff and the class and against defendant for:

               a.      Appropriate damages;

               b.      An injunction against the further transmission of unsolicited fax

                       advertising;

               c.      Costs of suit;

               d.      Such other or further relief as the Court deems just and proper.



                                               /s/ Daniel A. Edelman
                                               Daniel A. Edelman


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                          NOTICE OF LIEN AND ASSIGNMENT

        Please be advised that we claim a lien upon any recovery herein for 1/3 or such amount as
a court awards. All rights relating to attorney’s fees have been assigned to counsel.



                                            /s/ Daniel A. Edelman
                                            Daniel A. Edelman


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